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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 G.Y.J.P., A MINOR CHILD, by and
 through her mother and Next Friend,
 M.R.P.S.,

                        Plaintiff,                     Case No. 1:20-cv-01511 (TNM)

                        v.

 CHAD F. WOLF, Acting Secretary of
 Homeland Security, in his official capacity,
 et al.,

                        Defendants.




                                              ORDER



       Upon consideration of Lee Gelernt, Stephen B. Kang, Adrienne Harrold, Daniel Galindo,

Cody Wofsy, and Morgan Russell’s Motions for Leave to Appear Pro Hac Vice, the Court

GRANTS these motions. Counsel shall register for e-filing via PACER and file notices of

appearance pursuant to LCvR 83.6(a). Instructions may be found at:

https://www.dcd.uscourts.gov/node/66/.

       Eight attorneys have now filed Motions for Leave to Appear Pro Hac Vice in this case, in

addition to the four D.D.C.-barred attorneys already representing Plaintiff. The Court notes that

in addition to other relief requested in the Complaint, Plaintiff has asked the Court to award

Plaintiff’s counsel reasonable attorneys’ fees. If Plaintiff prevails in this matter, the Court may
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consider the number of timekeepers representing her when determining the reasonableness of

any requested attorneys’ fees.

       SO ORDERED.
                                                                         2020.07.20
                                                                         12:35:26 -04'00'
Dated: July 20, 2020                              TREVOR N. McFADDEN, U.S.D.J.




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